
Per Curiam.
*113[¶1] F.R.O. appealed from a juvenile court order terminating her parental rights to M.S.H., C.H.H., and A.R.G. The juvenile court found the children are deprived, the conditions and causes of the deprivation are likely to continue, the children are suffering or will probably suffer serious harm in the future, and that reasonable efforts were made to keep the family together. On appeal, the mother argues there was not clear and convincing evidence to support a termination of her parental rights. We conclude the juvenile court's findings are supported by clear and convincing evidence and are not clearly erroneous. We summarily affirm under N.D.R.App.P. 35.1(a)(2).
[¶2] Gerald W. VandeWalle, C.J.
Jerod E. Tufte
Daniel J. Crothers
Lisa Fair McEvers
Steven Marquart, D.J.
[¶3] The Honorable Steven L. Marquart, D. J., sitting in place of Jensen, J., disqualified.
